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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF WASHINGTON
 PDF FILE WITH AUDIO FILE ATTACHMENT

       2023-00196
       Soleados Estates, LLC
       Audio Duplicate Docket.




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       Case Number :                  2023-00196
       Case Title :                   Soleados Estates, LLC

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